  Case 8:16-ap-01114-ES        Doc 41 Filed 11/28/16 Entered 11/28/16 13:49:50                 Desc
                                Main Document Page 1 of 2



  1   MARCEREAU & NAZIF
  2   Robert H. Marcereau (SBN 211534)
      Sy Nazif (SBN 228949)                                         FILED & ENTERED
  3   26000 Towne Centre Drive, Suite 230
      Foothill Ranch, CA 92610
      Tel: (949) 531-6500                                                  NOV 28 2016
  4   Fax: (949) 531-6501
  5                                                                   CLERK U.S. BANKRUPTCY COURT
                                                                      Central District of California

  6   ATTORNEYS FOR CREDITORS and PLAINTIFFS                          BY reid       DEPUTY CLERK
      Kelli Peters, Bill Peters and Sydnie Peters
  7
                                                              CHANGES MADE BY COURT
  8                           UNITED STATED BANKRUPTCY COURT

  9               CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

110
      In re:                                           Case No. 8:16-bk-10223-ES
 11                                                    Adversary Case No.: 8:16-ap-01114-ES
      Kent W. Easter, dba Kent Easter
 12                                                    ORDER RE: PLAINTIFF’S MOTION
      Consulting, dba Law Offices of Kent W.
 13   Easter                                           FOR SUMMARY JUDGMENT

 14
                                                       Date:       November 10, 2016
 15                                                    Time:       10:30 a.m.
      Kelli Peters, Bill Peters and Sydnie Peters,     Department: 5A
 16
 17                  Plaintiffs,

 18                              vs.
      Kent W. Easter, dba Kent Easter
 19   Consulting, dba Law Offices of Kent W.
 20   Easter,
                    Defendants.
 21
 22
 23
      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 24
               On November 10, 2016, the “Motion for Summary Judgment” (the “Motion”) filed
 25
      by Plaintiffs Kelli Peters, Bill Peters and Sydnie Peters (“Plaintiffs”) came on for regularly
 26
      scheduled hearing before the Court. Robert H. Marcereau, of Marcereau & Nazif, and
 27
 28   Roger Friedman of Rutan & Tucker appeared as counsel for Plaintiffs; Charity Miller, of


                                                       1
                                                     ORDER
  Case 8:16-ap-01114-ES          Doc 41 Filed 11/28/16 Entered 11/28/16 13:49:50       Desc
                                  Main Document Page 2 of 2



  1   Goe & Forsythe, LLP, appeared as counsel for Kent W. Easter (the “Debtor” or
  2   “Defendant”).
  3          The Court, having read and considered the Motion, Defendant’s opposition, and the
  4   reply papers filed by the Parties, and having considered the evidence submitted by the
  5
      parties and the arguments of counsel, HEREBY ORDERS that the Motion is GRANTED
  6
      IN PART and DENIED IN PART as follows:
  7
             1.     The Court DENIES Plaintiffs’ Motion for Summary Judgment without
  8
      prejudice as to Plaintiffs Bill Peters and Sydnie Peters;
  9
             2.     The Court GRANTS partial Summary Adjudication in favor of Plaintiff Kelli
110
      Peters as to nondischargability under §523(a)(6). This order is based on, among other
 11
      things, Paragraph 1 of the stipulation signed by Kent W. Easter in which he admits conduct
 12
      sufficient to satisfy each element of nondischargeability under 523(a)(6);
 13
             3.     Given the pending appeal of the Superior Court judgment, at this time the
 14
 15   Court does not rule on the amount of damages (compensatory or punitive) that are

 16   nondischargeable;

 17          4.     The adversary proceeding shall proceed as to all remaining issues, without
 18   prejudice to Plaintiff bringing a further Motion for Summary Judgment.
                                                    ###
 19
 20
 21
 22
 23
 24
       Date: November 28, 2016
 25
 26
 27
 28

                                                    2
                                                  ORDER
